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AO91(Rev.08/09)CriminalComplaint                                                           Fjtg.                     V
                              U NITED STATES D ISTRICT C OU T
                                                      orthe                                             AtJ6 3g 2219
                                           Southern DistrictofFlorida                                   ANGELAE.NOBLE
                                                                                                       CLERK U s Dls'c c'c
                                                                                                       s.D.oFFkA.-w.Ra   .
              United StatesofAmerica

                                                               CaseN o. 19-8369-8ER
      CARRING TO N N.THO M AS,a/k/a 'Big,'




                                            CRIM INAL COM PLAINT

        1,the com plainantin thiscase,statethatthe following istrue to the bestofmy knowledgeand belief.
Onoraboutthedatets)of              Auqust19,2019         inthecountyof                         Palm Beach                    inthe
   southern    Districtof           Florida      ,thedefendantts)violated:
          CodeSection                                               OffenseDescription
Title 21,United StatesCode,            Distribution ofa Controll
                                                               ed substance,nam elya m ixture and substance
Section841(a)(1)                       containing a detectable am ountofheroin,a Schedule Icontrolled substance
                                       and fentanyl,a Schedule 11controlled substance,in violation ofTitle 21,
                                       Uni
                                         tedStatesCode,Section841(a)(1).




       Thiscriminalcomplaintisbased on thesefacts:
See Attached Affidavit




       V Continuedontheattachedsheet.

                                                                                 C' -                            -
                                                                                 Complainant'
                                                                                            ssignature

                                                                        Joseph C .Verneer,IV DEA SpecialAqent
                                                                                  Printednameand title

Swornto before meand signed in my presence.
                                                                                                   '
                                                                        .=                     .             .



oate:r'
      /w>r                                                      z
                                                                    .
                                                                                 ae'e
                                                                                        .,
                                                                                          x'           x.v

                                                                                         Judge'ssignature
                                                                                                             .




City and state:              W estPalm Beach,FL                         Bruce E.Reinhad,U.S.Maqistrate Judqe
                                                                                  Printedr?t
                                                                                           zrz;eand title
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                                         A FFID AV IT
                                             OF
                                      SPEC IAL A G EN T
                                  JO SEPH C .V ER N EE RS IV
                        D R U G EN FO R CEM EN T AD M IN IST M TIO N
                       U N IT ED STA TES D EPA R TM EN T O F JU STICE

       1,Joseph C .V enw er,lV ,being duly sw ol'n,depose and state as follow s:

              lam aSpecialAgent(SA)with theDrugEnforcementAdministration(DEA)United
StatesDepartmentofJustice(DOJ),currentlyassignedtotheMiamiFieldDivision,W estPalm Beach
DistrictOffice,in W estPalm Beach,Florida. A ssuch,Iam an investigative orlaw enforcem ent

officeroftheUnited StateswithinthemeaningofTitle l8,United StatesCode,Section 2510(7),in
that1am em pow ered by law to conductinvestigationsof,and to m akearrestsfor,offensesenum erated

inTitle18,UnitedStatesCode,Section 2516(1)(e)andTitle21,UnitedStatesCode.
       2.     l have been a SA w ith the DEA since February 21,2016. Prior to m y em ploym ent

with D EA ,1served as a FederalA irM arshalw ith the FederalA ir M arshalService in the N ew York

and M iam iField O ffice from M arch 2009 to February 2016. lam currently assigned to investigations

dealing w ith al1aspects of im portation,m anufacturing,and distribution ofillegaldrugs,to include,

butnotlim ited to,heroin,fentanyl,cocaine hydrochloride and cocaine base com m only referred to as

ltcrack''cocaine.

       3.     W hile em ployed w ith the D EA ,lhave received ongoing training to include classes in

BasicTelecom munication Exploitation,lnternetTelecomm unication Exploitation and W ireand Oral

Telecom m unication Interceptions. A s a SA w ith the D EA ,Ihave conducted investigations of,and

have been instructed in investigative techniques concerning the unlaw ful distribution of illegal

narcotics,possession w ith intentto distribute controlled substances,im portation ofillegalnarcotics,

use of com m unication facilities to conduct illegal narcotics transactions, m aintaining places for

purposes of m anufacturing,distributing or using controlled substances and conspiracies to com m it

theseoffenses,inviolationofTitle21,UnitedStatesCodeSections841(a)(1),843(b),856,846,952,
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and 963,respectively. Based upon this experience,and through the experience ofother agents and

detectives w ith num erous years of experience,I have also becom e wellversed in the m ethodology

utilized in illegal narcotics trafticking, the specific type of language used by illegal narcotics

traffickers,and the unique patternsem ployed by narcotics organizations. Ihave also participated in

physicalsurveillances,electronic surveillances,and w ire sulweillances. A dditionally,lhave arrested

individuals for various drug violations and have spoken w ith a num ber of drug dealers,drug users,

and infonuants concerning the m ethods and practices of drug traffickers. A s a result of m y 1aw

enforcem entexperiences,and the experience ofother agents and detectives l have w orked w ith in

dealing with drug traffickers,lhave found thatthey rarely speak openly abouttheirillegalnarcotics

transactions. lnstead,they use coded language to disguise theirconversationsaboutillegalnarcotics

transactionsand also com m unicate via textm essages.

                                     Purpose ofthisA ffidavit

               The inform ation in this affidavitis personally know n to m e,orhas been provided to

m e by other law enforcem ent ofticers,either in person or through a review of their reports. The

lim ited purpose of this affidavit is to establish probable cause for the arrest of Carrington N .

TH O M A S,a/k/a $tBig,''for having com m itted the crim inal offense of D istribution of a controlled

substance,nam ely a m ixture or substance containing a detectable am ountof heroin,a Schedule l

controlled substance,and fentanyl,a Schedule 11controlled substance,in violation ofTitle 21,United

StatesCode,Section841(a)(1).Accordingly,thisaftidavitdoesnotsetfortheveryfactthatisknown
to m e,orother officers,regarding Carrington N .TH O M A S,a/lc/a ûkBig.''

                           C ontrolled purchase ofH eroin and Fentanvlfrom
                                 C arrineton N .TH O M A S.a/k/a d$Bim ''

               O n August 19, 2019, a Palm Beach County Sheriff s O ffice agent acting in an

undercovercapacity(UC)setupacontrolledpurchaseofheroinfrom CarringtonN.THOMAS,z1Va
$:Big,''(THOMAS).TheUC wasprovided$100.00 inU.S.currencyto completethepurchase.The
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U C arrived atthe agreed m eetlocation,nam ely the ûûkly N eighborhood G rocery Storen''located at

1600 S.D ixie Hw y.,Lake W orth,in Palm Beach County,within the Southel'
                                                                       n D istrictofFlorida.The

UC parked in theparking lot,and an unidentified black male(UM ),a/lt/alûBig''lateridentitied as
TH O M A S approached the passenger side w indow of the U C vehicle. The U C asked to purchase

$100.00 oftkboy''which lknow based upon my training and experienceto be streetterminology for
heroin. THO M A S agreed to assistthe U C w ith the purchase ofheroin. TH O M A S then entered the

UC vehicleandtoldtheUC heonlyhadonebaggieofheroin(approximately$20.00worthofheroin)
on hisperson,butcould getm ore ifthe U C drove him to anotherlocation. TH O M A S then gave the

U C a sm all clear plastic zipper baggie containing a brown powdery substance. TH O M A S also

provided histelephone num berto the U C forfuture purchases.

       6.     The U C and TH OM A S then drove to anotherlocation nearthe 800 block of South H

Street,Lake W orth,in Palm Beach County,w ithin the Southern D istrictofFlorida. Once theU C and

THOM AS arrived to the location,the UC handed THOM AS $20.00 in U .S.currency forthe one
plastic zipper baggie of heroin TH OM A S previously gave the U C . TH O M A S then exited the U C

vehicle and approached a group ofunidentified black m ales. Shortly thereafler,THO M A S entered

the U C vehicle and handed the U C a clear plastic baggie containing a w hite pow dery substance.

THOM AS told the UC thatthewhitepowerwasûtfentanyl.''TheUC then handed THOM AS $80.00
in U .S.currency. THO M A S exited the U C vehicle and approached the sam e group of unidentified

black m alesand provided them w ith a portion ofthe m oney. Thereafter,the UC and TH OM A S left

the area.

              Later, law enforcem ent ofticers returned to the police departm ent, processed the

suspected heroin purchased from TH O M A S and conducted tield tests ofboth substances. The clear

plastic zipper baggie containing the brow n pow dery substance field tested positive forthe presence

ofheroin/fentanyland w eighed approxim ately .6 gram s. The clearplastic baggie containing a w hite
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pow dery substance field tested positive for the presence of heroin/fentanyl and weighed

approxim ately 1.2 gram s.

                                             Cpnçlusion

    8.       Therefore,based on the facts and infonnation setforth in this affidavit,1respectfully

subm itthatthere isprobable causeto believe thaton A ugust19,2019,Carrington N .TH OM A S,alkla

$çBig,''did com m itthe crim inaloffense ofD istribution of a Controlled Substance,nam ely a m ixture

or substance containing a detectable am ount of heroin, a Schedule l controlled substance, and

fentanyl,a Schedule 11 controlled substance,in violation of Title 21,U nited States Code, Section

841(a)(1).


                                         FU RTH ER Y OU R A FFIA N T SA ITH N AU G H T.

                                                      zJ. /-  .


                                          J EP C.VERN EER IV
                                          SPECIA L A GEN T
                                          DRU G EN FOR CEM EN T A D M IN ISTR A TION



Sworntoand'v bscribedbef
              .
                       pmmethisVJ7 dayofAugust,2019,atWestPalm Beach,Florida.


BRU CE RE   A RT
UN ITED STATES M A G ISTRA TE JU D G E
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                                 SO UTH ERN D ISTRICT O F FLO R IDA

                           C ASE N UM BER : 19-8369-8ER

                                    BO ND R ECO M M ENDA TIO N



DEFENDANT:CARRINGTON N.THOMAS,alèla ''Big,''

             Pre-TrialDetention
             (PersonalSurety)(CorporateSurety)(Cash)(Pre-Trial tention)




                                               By:
                                                     A USA :     nif      .   ci




LastK now n A ddress:U nknow n




W hatFacility:




Agentts):           S/A JosephC.Verneer,IV
                    (FBl) (SECRET SERVICE) (DEA) (IRS) (lCE) (OTHER)
                    D EA
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                             UN ITED STA TES D ISTRICT CO UR T
                             SOU THERN DISTR IC T O F FLOR ID A

                                 Case N o. 19-8369-8ER

 UN ITED STA TES OF A M ERICA

 VS.

 CARRIN GTON N .THO M A S,
 YY Z ViBig 31

            Defendant.


                                C R IM IN AL C O VE R SH EET


       D id thism atteroriginate from a m atterpending in the U nited StatesA ttorney'sOffice prior
       toAugust9,2013(M ag.JudgeAliciaValle)?                  Yes         X   No
       Didthismatteroriginatefrom a matterpending in theNorthern Region oftheUnited
       StatesAttorney'sOfticepriortoAugust8,2014(M ag.JudgeShaniek M aynard)?
              Yes        X    No

                                                                       '
                                                                       ,

                                            Respectf ysubmitted, !
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                                            A R1 N A FA JA RD O SH A N
                                                TED STA TES AT O RN EY


                                     BY :
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                                             Jelm i r. cci usdo'. ov
